                                                           THIS ORDER IS APPROVED.


                                                            Dated: February 28, 2019

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 2                                                          Scott H. Gan, Bankruptcy Judge

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 7                        UNITED STATES BANKRUPTCY COURT
 8                                  DISTRICT OF ARIZONA
 9   In re:                                       Chapter 11 Proceedings
                       In Re:
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                                                  Case No. 2:17-bk-07624-SHG
11   RONALD AND ARLENE SILVER,
                                                  ORDER SETTING AND NOTICE OF:
12   husband and wife,

13                               Debtors.            1. HEARING TO CONSIDER
                                                        APPROVAL OF DISCLOSURE
14                                                      STATEMENT;
15   TO:      ALL CREDITORS AND OTHER PARTIES IN INTEREST:
16            The Court having been advised that RONALD and ARLENE SILVER
17   (“Proponents”) have filed a Third Amended Disclosure Statement (“Disclosure
18   Statement”) and Second Amended Plan of Reorganization (“Plan”) under Chapter 11 of
19   the Bankruptcy Code, and good cause appearing;
20            IT IS ORDERED AND NOTICE IS HEREBY GIVEN THAT:
21            1.   HEARING ON DISCLOSURE STATEMENT: The Court will consider
22   the approval of the Disclosure Statement at a hearing on April 18, 2019 at 2:00 p.m.,
23   (“Disclosure Statement Hearing”). The Disclosure Statement Hearing will be held in U.S.
24   Courthouse and Federal Building, U.S. Bankruptcy Court, 230 N. First Ave., Phoenix, AZ
25   85003.
26            2.   OBJECTION DEADLINE: Any party desiring to object to the Court’s
27   approval of the Disclosure Statement must file a written objection with the Court via the
28   Electronic Court Filing System or, if the objecting party is not an authorized user of the
     Order Setting Disclosure Statement Hearing                                        Page 1
 1   System, then by delivering the objection to the Court Clerk of the Court.1 The objection
 2   must be filed by April 1, 2019 (which date is at least seven (7) calendar days prior to the
 3   Disclosure Statement Hearing). Any party that files an objection to the Disclosure
 4   Statement must serve a copy of the objection on the Proponent at the following address:
 5                                          Kyle A. Kinney
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                                      Law Offices of Kyle A. Kinney
                                       1717 N. 77th Street, Suite 6
 7                                        Scottsdale, AZ 85257
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             3.      DEADLINE FOR BANKRUPTCY CODE § 1111(B) ELECTION:
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     Unless otherwise ordered by the Court, the conclusion of the Disclosure Statement
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     Hearing is the deadline for a secured creditor to make a written election to have its claim
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     treated pursuant to Bankruptcy Code § 1111(b)(2).
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             4.      SERVICE OF THIS ORDER: Pursuant to Bankruptcy Rule 3017(a), the
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     Proponent shall serve a copy of this Order on all creditors and interested parties.
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             5.      SERVICE OF THE DISCLOSURE STATEMENT AND PLAN:
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     Pursuant to Bankruptcy Rule 3017(a), in addition to this Order, the Proponent shall serve
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     copies of the Disclosure Statement and the Plan on:
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                     a.      the Debtor, unless it is the Proponent;
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                     b.      any committee appointed pursuant to § 1102 of the Bankruptcy Code;
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                     c.      the Securities and Exchange Commission, Attn: Bankruptcy
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                             Counsel, 444 S. Flower Street, Suite 900, Los Angeles, CA 90071;
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                     d.      the United States trustee; and,
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                     e.      any party in interest that has requested or requests in writing a copy
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                             of the Disclosure Statement and Plan.
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             6.      REQUEST FOR COPIES: Any creditor or party in interest may obtain a
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     copy of the Disclosure Statement and Plan by sending a written request for the copies to
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27   1
       Clerk’s office in Phoenix is located at the U.S. Bankruptcy Court, 230 N. First Ave., Suite 101,
     Phoenix, AZ 85003 and the Clerk’s office in Tucson is located at the U.S. Bankruptcy Court, 38 S. Scott
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     Ave., Suite 100, Tucson, AZ 85701.
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 1   the Proponent at the address listed in paragraph 2 above.
 2          7.     TIMING OF SERVICE:             Pursuant to Bankruptcy Rule 2002(b), the
 3   Proponent shall provide service as detailed in paragraphs 7 and 8 above so that all parties
 4   shall have not less than twenty-eight (28) days after receipt (or, pursuant to Bankruptcy
 5   Rule 9006(f), thirty-one (31) days if the Plan Documents are served by mail) to file
 6   objections to the Disclosure Statement or a proof of claim.
 7          8.     CERTIFICATE OF SERVICE: Promptly after serving the documents
 8   required by this Order, the Proponent shall file with the Court a certificate or affidavit
 9   evidencing such service.
10                                                   DATED AND SIGNED ABOVE.
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